Stephen P. Arnot OSB # 070765
Assistant United States Trustee
U.S. Department of Justice
Office of the United States Trustee
620 SW Main Street, Room 213
Portland, OR 97205
Tel: (503) 326-4004
Email: steve.arnot@usdoj.gov

Attorneys for Gregory M. Garvin,
Acting United States Trustee for Region 18


                               UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF OREGON

 In re                                            Case No. 19-62584-pcm11
                                                  (Lead Case)
 NORPAC Foods, Inc.,
                                                    SECOND AMENDED APPOINTMENT
                       Debtor(s).                   OF COMMITTEE OF UNSECURED
                                                    CREDITORS *

                                                    (Jointly Administered with Hermiston
                                                    Foods, LLC., Case Nos. 19-33102-pcm11
                                                    and Quincy Foods, LLC., Case No. 19-
                                                    33103-pcm11)


         Pursuant to sections 11 U.S.C. § 1102(a) and (b) of the Bankruptcy Code, through

Assistant United States Trustee Stephen P. Arnot, hereby files The Second Amended

Appointment of Committee of Unsecured Creditors for the above-named debtor(s):

 Packaging Corporation of America                 Phone: 847-482-8747
 1 N. Field Court                                 Fax: 847-482-8749
 Lake Forest, Illinois 60045                      VinceCarrera@packagingcorp.com

 Attention: Vince Carrera                         Unsecured Claim: $2,311,361.75 (in all three cases)



*Amended to remove VLM Foods USA Ltd., from Committee based on its resignation and
adding HM Clause, Inc. and George Smith

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  CREDITORS




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 Syngenta Seeds, LLC                                 Phone: 704-576-4490
 P O Box 18300                                       dconaway@shumaker.com
 Greensboro, NC 27419
                                                     Unsecured Claim: $1,020,593.32 (in all three cases)
 Attention: David Conaway

 Mohawk Northern Plastics, LLC dba Ampac             Phone: 920-967-8605
 701 A Street NE                                     Eric.bradford@proampac.com
 Auburn, WA 98002
                                                     Unsecured Claim: $1,500,000.00 (in lead case)
 Attention: Eric Bradford, CFO
 International Paper Co.                             Phone: 901-419-1346
 6400 Poplar Ave.                                    bruce.gilliland@ipaper.com
 Memphis, TN 38197

 Attention: Bruce Gilliland                          Unsecured Claim: $201.643.94 (in NORPAC Foods, Inc. and
                                                                                    Quincy Foods, LLC)

 Pension Benefit Guaranty Corp.                      Phone: 202-229-3126
 1200 K. Street, NW                                  Fax: 202-326-4112
 Washington, D.C. 20005                              hristova.donika@pbgc.gov

 Attention Donika Hristova                           Counsel: Cassandra Burton
                                                     Phone: 202-229-6778
                                                     burton.cassandra@pbgc.gov

                                                     Unsecured Claim: Approx. $25,000,000.00 (in all three cases)
 HM. Clause, Inc.                                    Phone: 530-747-3748
 26 Cousteau Place, Ste. 210                         Cell: 530-746-1680
 Davis, CA 95618                                     Vartan.saravia@hmclause.com

 Attention: Vartan Saravia, Esq.                     Unsecured Claim: $1, 793,704.00 (in NORPAC Foods, Inc. and
                                                                                    Quincy Foods, LLC)
 George Smith                                        Phone: 503-931-2743 (George Smith)
 9601 Oakmont Lane                                          206-521-3860 (Jay Kornfeld)
 Stayton, OR 97383
                                                     jkornfeld@bskd.com
 Attention: Jay Kornfeld
                                                     Unsecured Claim: $5,891,762 (NORPAC Foods, Inc.)




DATED this 18th day of September, 2019.

                                                 Respectfully submitted,
                                                 GREGORY M. GARVIN
                                                 Acting United States Trustee for Region 18

                                                 /s/ Stephen Arnot
                                                 STEPHEN ARNOT OSB # 070765
                                                 Assistant United States Trustee



*Amended to remove VLM Foods USA Ltd., from Committee based on its resignation and
adding HM Clause, Inc. and George Smith

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   CREDITORS




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 18, 2019, I served a copy of the foregoing SECOND

AMENDED APPOINTMENT OF COMMITTEE OF UNSECURED CREDITORS by

mailing a copy of this document, by United States first class mail, postage prepaid, addressed to

the follows:

NORPAC Foods, Inc.
POB 14444
Salem, OR 97309

Timothy Conway                       Albert Kennedy                 Timothy Solomon
888 SW 5th Ave. #1600                888 SW 5th Ave., #1600         1 SW Columbia, Suite 1010
Portland, OR 97204                   Portland, OR 97204             Portland, OR 97204


                                    Henningsen Cold Storage
HM. Clause Inc.                                                    Fessler Farms, Inc.
                                    Co.
260 Cousteau Pl., Suite 100                                        12096 Monitor-Mckee Rd.
                                    POB 35146 #40032
Davis, CA 95618                                                    Woodburn, OR 97071
                                    Seattle, WA 98124

                                    AG Reserves                    J&M Farming
Ampac Flexibles
                                    Dba AgriNorthwest              27471 McCarty Ranch Lane
25366 Network Pl.
                                    POB 2308                       Echo, OR 97826
Chicago, IL 60673
                                    Pasco, WA 99302
                                    VLM Foods USA Ltd.
                                    c/o KBC Bank Lock Box          Marban USA LC
Terminal Freezers, LLC
                                    #160                           POB 202473
POB 101389
                                    1177 Avenue of the             Dallas, TX 75320
Pasadena, CA 91189
                                    Americas
                                    ICM Dept.
KYWA International Group,
                                    Butler Farms, LLC              Keudell Farms Inc.
LLC
                                    10704 Mill Creek Rd. SE        12444 West Stayton Rd. SE
5335 Meadows Rd., Suite 370
                                    Aumsville, OR 97325            Aumsville, OR 97325
Lake Oswego, OR 97035


Greg & Stan Herr                    Syngenta Seeds Inc.            Oregon Potato Company
9631 Selah Springs Rd. NE           15390 Collections Ctr. Dr.     POB 3372
Silverton, OR 97381                 Chicago, IL 60693              Pasco, WA 99302




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Expor-San Antonio
PMB 550                       Haener Living Trust          Obersinner Farms Inc.
10800 Alpharetta Hwy, Suite   11644 Ehlen Rd.              7886 North Howell Rd. NE
208                           Aurora, OR 97002             Silverton, OR 97381
Roswell, GA 30076
                                                           Western Conference of
Teamsters Local 760           Cannery Local 670            Teamsters Pension Trust
1211 W. Lincoln Ave.          POB 3048                     Funds
Yakima, WA 98902              Salem, OR 97302              POB 34080
                                                           Seattle, WA 98124
Oregon Processors Employees   Heller & Sons Distributing
                                                           IJCS LLC
Truste Unit 33                Inc.
                                                           POB 188
c/o US Bank POB 4500          POB 66
                                                           Irrigon, OR 97844
Portland, OR 97208            Hermiston, OR 97838

                                                           Coleman Oil
Aramark                       City of Hermiston
                                                           POB 1308
POB 101179                    180 NE 2nd St.
                                                           Lewiston, ID 83501
Pasadena, CA 91189            Hermiston, OR 97838


Pea Ridge Embroidery &
                              Hermiston Quicky Lube        Amity’s Ace Hardware
Signs
                              POB 928                      1845 N. 1st St.
80874 N. Hwy 395
                              Hermiston, OR 97838          Hermiston, OR 97838
Hermiston, OR 97838

Packaging Corporation of
                              Lineage Logistics, LLC       Seminis Vegetable Seeds, Inc.
America
                              27626 Network Pl.            PO Box 935619
PO Box 51584
                              Chicago, IL 60673            Atlanta, GA 31193
Los Angeles, CA 90051

                                                           L2 Inc.
Klaustermeyer Farms Inc.      Williamson Farm Inc.
                                                           509 Rd. K. SW
4900 Hollingsworth Rd.        3505 Adams Rd. S.
                                                           Quincy, WA 98848
Basin City, WA 99343          Quincy, WA 98848


                              QCS Purchasing LLC           Crites Seed Inc.
Chuck Williamson
                              Dept. # 10299                212 W 8th St.
5 Rd. K. NW
                              POB 87618                    POB 8912
Quincy, WA 98848
                              Chicago, IL 60680            Moscow, ID 83843




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Alan Williamson                               H. Lee Farms Inc.          Reynolds Agribusiness LLC
4524 Adams Rd. S.                             11915 Rd. M. SW            POB L
Quincy, WA 98848                              Royal City, WA 99357       Moses Lake, WA 98837


Diamond M Inc.                                J&C Daughters’ Trust       Skagit Transportation Inc.
401 19th St. NE #2                            8002 Adams Rd. S.          POB 400
East Wenatchee, WA 98802                      Royal City, WA 99357       Mount Vernon, WA 98273


                                              Anzuk Farms
Bronco Farm Supply                                                       Kelsey Sidwell
                                              POB 322
1302 W. First Ave.                                                       5 Rd. K. NW
                                              Ephrata, WA 98823
Ritzville, WA 99169                                                      Quincy, WA 98848


Deaguiar Farms                                ERW Farms Inc.
1263 Rd. S. NW                                3505 Adams Rd. S.
Quincy, WA 98848                              Quincy, WA 98848

Oregon Processors Employees Trust, Oregon
Processors Seasonal Employees Pension Trust
Attn: Linda Larkin                            George Smith
Bennett, Hartman, Morris & Kaplan, LLP
210 SW Morrison St., Ste. 500
                                              9601 Oakmont Lane
Portland, OR 97204                            Stayton, Or 97383




                                                     GREGORY M. GARVIN

                                                     Acting United States Trustee for Region 18


                                                     /s/ Stephen Arnot
                                                     STEPHEN ARNOT OSB # 070765
                                                     Assistant United States Trustee




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